       Case 3:14-cr-00216-MMA                  Document 482        Filed 12/17/15             PageID.1964       Page 1 of 4
AO 2458 (CASDRev. 08113) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COUR'
                                          SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA
                          V.                                       (For Offenses Committed On or~ovenrber ~i987) .. - ~
                  LORENZO OROZCO (7)
                                                                       Case Number:         14CR0216 MMA

                                                                   NICHOLAS DePENTO
                                                                    Defendant's Attorney
REGISTRA TION NO.                   46419298
 o­
THE DEFENDANT:
 IZl   pleaded guilty to count(s)      ONE OF THE SUPERSEDING INDICTMENT

 o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                      Nature of Offense                                                              Number(s)
21 USC 841(a)(I) and 846             CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                             1




     The defendant is sentenced as provided in pages 2 through                 4           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZl   Count(s)    UNDERLYING INDICTMENT                      is          dismissed on the motion of the United States.

 IZl   Assessment: $1 00.00



 IZl No fine                    0 Forfeiture pursuant to order filed                                          • included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. A"NELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                 14CR0216 MMA
       Case 3:14-cr-00216-MMA             Document 482         Filed 12/17/15      PageID.1965      Page 2 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 LORENZO OROZCO (7)                                                     Judgment - Page 2 of 4
CASE NUMBER:               14CR02] 6 MMA



                                                      IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY-THREE (63) MONTHS




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~      The court makes the following recommendations to the Bureau of Prisons:
        COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM (RDAP).

        COURT ALSO RECOMMENDS PLACEMENT IN THE WESTERN REGION OF THE UNITED
        STATES/SOUTHERN CALIFORNIA.


 o      The defendant is remanded to the custody of the United States Marshal.

 [8J    The defendant shall surrender to the United States Marshal for this district:
        [8J   by                 12:00         P.M.             on 1126/2016
        o     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                          RETURN
 I have executed this judgment as follows:

        Defendant delivered on     ___________________________ to _______________________________

 at                                           , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                         By                   DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR0216 MMA
               Case 3:14-cr-00216-MMA                   Document 482              Filed 12/17/15            PageID.1966             Page 3 of 4
      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                    LORENZO OROZCO (7)                                                                          Judgment - Page 3 of 4
      CASE NUMBER:                  I 4CR0216 MMA

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o            substance abuse. (Check, if applicable.)
~            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
             The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IZI          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et
o            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
             resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of
        Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        I)  the defendant shaH not leave the judicial district without the permission of the court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
        10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of IInY contraband
            observed in plain view of the probation officer;
        II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
             the court; and
        13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
             personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant'S compliance
             with such notification requirement.


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      Case 3:14-cr-00216-MMA        Document 482        Filed 12/17/15   PageID.1967     Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            LORENZO OROZCO (7)                                               Judgment - Page 4 of 4
CASE NUMBER:          l4CR02l6 MMA

                              SPECIAL CONDITIONS OF SUPERVISION


     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat
        patch testing and counseling, as directed by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be
        required to contribute to the costs of services rendered in an amount to be determined by
        the probation officer, based on ability to pay.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation
        officer.


     3. Submit your person, property, residence, office or vehicle to a search, conducted by a
        United States Probation Officer at a reasonable time and in a reasonable manner, based
        upon reasonable suspicion of contraband or evidence of a violation of a condition of
        release; failure to submit to a search may be grounds for revocation; the defendant shall
        warn any other residents that the 'premises may be subject to searches pursuant to this
        condition.


     4. Refrain from gambling or visiting any gambling establishments.


     5. Shall not associate with any member, prospect, or associate of the (Linda Vista 13), or
        any other gang, or club with a history of criminal activity, unless given permission by the
        probation officer.


     6. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other
        materials associated with a gang, unless given permission by the probation officer.


     7. Shall not loiter, or be present in locations known to be areas where gang members
        congregate, unless given permission by the probation officer.



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